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                        UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



UNITED STATES OF AMERICA

-vs-                                            Case No. 2:11-cr-128 (15)

MARCUS H. VIRGIN
________________________________



                            REPORT AND RECOMMENDATION
                            CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to
Rule 11, F.R.Cr.P. and has entered a plea of guilty to Count one of
the Indictment.    After examining the Defendant under oath concerning
each of the subjects mentioned in Rule 11, I determine that the
defendant is competent and capable of entering an informed plea, that
the guilty plea is knowingly and voluntary made and that the offenses
charged are supported by an independent basis in fact containing each
of the essential elements of such offense.
        I therefore RECOMMEND the plea of guilty should be accepted and
the Defendant should be adjudged guilty and sentenced accordingly.
        The Defendant remains on bond pending sentencing.


Date:        May 26, 2011                   /s/ Terence P. Kemp
                                           UNITED STATES MAGISTRATE JUDGE




                                     NOTICE

     Failure to file written objections to this Report and
Recommendation within fourteen (14) days from the date of its service
shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28
U.S.C. Section 636(b)(1)(B).
